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GOVERNMENT

 

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GLYNN COUNTY POLICE DEPARTMENT

Miranda Warning Rights and Waiver Form

      

 

 

PLACE: Ccpb _
MY NAMEIS: | Domes AbAMS 1AM He YEARS OLD.
MY ADDRESS 1s: 76 RE¥ALDS §=STheeT

I COMPLETED THE! d GRADE IN SCHOOL. IKNOW THAT

|S. fowkeY

IS AN OFFICER WITH THE GLYNN COUNTY POLICE DEPARTMENT.

 

 

 

HE/SHE TOLD ME THAT:

1. IHAVETHE RIGHT TO REMAIN SILENT.
2. ANYTHINGISAY OR WRITE CAN BE USED AGAINST ME IN A COURT OF LAW.
3. IHAVETHE RIGHT TO TALK TO A LAWYER AND HAVE HIM PRESENT WITH ME

WHILE I AM BEING QUESTIONED.
4, IFICANNOT AFFORD AN ATTORNEY, ONE WILL BE APPOINTED TO REPRESENT ME

BEFORE ANY QUESTIONING, IF I WISH.
5. ICAN DECIDE AT ANY TIME TO EXERCISE THESE RIGHTS AND NOT ANSWER ANY

QUESTIONS OR MAKE ANY STATEMENTS.

I UNDERSTAND MY RIGHTS. HAVING THESE RIGHTS IN MIND, I AM FREELY AND
VOLUNTARILY WILLING TO TALK ABOUT:

 

I HAVE NOT BEEN THREATENED. I HAVE NOT BEEN PROMISED ANYTHING. I HAVE
NOT BEEN FORCED IN ANY WAY TO ANSWER QUESTIONS OR TO MAKE ANY

STATEMENTS.

an ML bb— Officer: CE

Witness:

 

 

 

1. You have the right to remain silent.

2. Anything you say can and will be used against
you ina court of law.

3. You have the right to talk to a lawyer or have
one with you when being questioned,

4, If you cannot afford to hire a lawyer, one will
be appointed to represent you, if you wish.

5. You can decide at any time to exercise these
rights and not answer any questions or make
any statements,

 

 

 
